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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA


IN RE OMAR ABDULSATTAR AMEEN
DOCKET NUMBER 2:18-MJ-00152-EFB


              REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                            (LETTER ROGATORY)

        The District Court of the United States of America, Eastern District of California,
presents its compliments to the appropriate judicial and administrative authorities of the Republic
of Turkey, and requests international judicial assistance to obtain evidence to be used in an
extradition proceeding before this Court in the above-captioned matter. A hearing on this matter
is scheduled at present for the 29th of April, 2019, in Sacramento, California, United States.

       This Court requests the assistance described herein as necessary in the interests of justice.
The assistance requested is that the appropriate judicial or administrative authority of the
Republic of Turkey authorize the following Turkish government agency to aid this Court in
obtaining documents held regarding Omar Abdulsattar Ameen:

         This Court requests that the Ministry of Justice and the Office of the Public Prosecutor
aid it in obtaining evidence from:

Bilgi Tekonolojileri ve Iletisim Kurumu (BTK)
Eskisehir Yolu 10.km No: 276
06530 Cankaya/Ankara
TURKEY

       This Court offers the following identification information in order to aid in obtaining the
requested documents.

Mr. Ameen’s Turkish identification number (kimlik): 99247350122
Date of Birth: December 20, 1973
Iraqi passport number: G1975150
Turkcell phone number: 05-34 068 5280
Turkcell contract number: HBP49168419
Turkcell SIM card no.: 899001 110816085280
Turkcell Cell Phone IMEI No.: 353005398405222

(Copies of Mr. Ameen’s Turkish identity card, Iraqi passport, and Turkcell contract are
attached.)



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        The request is for cell phone records for the period of time of May 2014 through August
2014 for the above cell phone number, SIM card, and handset. This Court requests that detailed
data records be obtained that include usage records for this period of time for calls, texting, and
data, and location data, including cell-site location data.

        Mr. Ameen was a registered refugee living in Mersin, Turkey from 2012 to 2014. This
request is made pursuant to a submission by Mr. Ameen, who seeks these documents to aid his
defense. The Court asks that the requested documents be provided in the manner that they are
held in the original file. The Court asks that correspondence regarding this request be referred to
the Office of the Federal Defender, 801 I St., 3rd Floor, Sacramento, CA 95814 USA, care of
Chief Assistant Federal Defender Benjamin Galloway at Ben_Galloway@fd.org.

Facts

         Mr. Ameen is charged in the Republic of Iraq with murder a committed in June 2014.
Mr. Ameen has been a resident refugee in the United States of America since November 2014.
He lived in the Republic of Turkey from early 2012 until November 2014. Mr. Ameen has
indicated that he did not leave Turkey in June 2014. Mr. Ameen’s defense team believes that
cell phone data from this time will aid in supporting his defense. A defense investigator has
spoken with staff at Turkcell to confirm that the information exists. Turkcell has confirmed to a
defense investigator that the BTK has the more detailed data and location information addressed
in this request.

Reciprocity

        This Court is available to provide you reciprocal assistance at your request.

Reimbursement for costs

       The requesting office, the Office of the Federal Defender, is able to repay costs incurred
by your court or agency in obtaining these records. Please provide cost requests to the Office of
the Federal Defender, 801 I St., 3rd Floor, Sacramento, CA 95814 USA, care of Chief Assistant
Federal Defender Benjamin Galloway at Ben_Galloway@fd.org.

                                                      Respectfully submitted,



        3/12/19
Dated: _______                                         _______________________________
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                                                            EDMUN UND F.F BRENNAN
                                                      UNITED STATES MAGISTRATE JUDGE
                                                      SACRAMENTO, CALIFORNIA, USA




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           AGENCIES TO WHICH LETTER ROGATORY WILL BE SUBMITTED




Office in custody of requested documents:

Bilgi Tekonolojileri ve Iletisim Kurumu (BTK)
Eskisehir Yolu 10.km No: 276
06530 Cankaya/Ankara
TURKEY


Turkish Central Authority for mutual assistant requests:

Ministry of Justice
General Directorate of International Law and Foreign Relations
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Ankara, Turkey
Telephone: +90 312 2187821
Facsimile: +90 312 2194523
E-mail: uhdigm@adalet.gov.tr

Ministry of Justice
General Directorate of International Law and Foreign Relations
Ministry of Justice Annex Building
1DPÕN.HPDO0DK0LOOL0GDIDD&DGGHVL1R
.Õ]ÕOD\- Çankaya / ANKARA Turkey
Head Office Authority: +90 312 414 80 51
Facsimile: +90 312 2194523
E-mail: uhdigm@adalet.gov.tr

Turkish Office of the Public Prosecutor:

Caglayan Square
Sisli Merkez Mahallesi
Abide-i Hürriyet Cad. No: 223
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34360 Turkey




                                                                    Exhibit B
